      Case 17-07264         Doc 25       Filed 12/10/18 Entered 12/11/18 10:01:05              Desc Notice
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                                    UNITED STATES BANKRUPTCY COURT
                                          Northern District of Illinois
                                               Eastern Division
                                               219 S Dearborn
                                                  7th Floor
                                              Chicago, IL 60604


                                                  Case No.: 17−07264
                                                      Chapter: 13
                                                Judge: Jacqueline P. Cox

In Re:
   Allen Thomas
   5231 W. Gladys Ave
   Chicago, IL 60644
Social Security / Individual Taxpayer ID No.:
   xxx−xx−8332
Employer Tax ID / Other nos.:


                                                        NOTICE



To the Debtor(s), Creditors, and other Parties in Interest:

You are hereby notified that the court has signed an order dated December 10, 2018 vacating the dismissal order
entered on November 5, 2018.




                                                              FOR THE COURT


Dated: December 11, 2018                                      Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
